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Sheet 1

UNITED STATES DISTRICT COURT

 

 

MIDDLE District of PENNSYLVANIA
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
DAVID PAUL HAMMER
Case Number: 4:96CRO00239-001
USM Number: 24507-077

RONALD C. TRAVIS, ESQ.

Defendant’s Attorney

THE DEFENDANT:
X pleaded guilty to count(s) COUNT ONE (1) (FIRST DEGREE MURDER)

(1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

C1 was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense ffense Ended Count
18 U.S.C. SECTION THI FIRST DEGREE MURDER. 04/13/1996 1
The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

(The defendant has been found not guilty en couni(s)

 

X Count(s) TWO (2) X is © are dismissed on the motion of the United States.

 

_. tis ordered that the defendant must notify the United States altorney for this district within 30 days of any change of name, residence,
or mailing address until ail fines, restitution, costs, and special assessments imposed by this judgment are fully paid. H ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

AUGUST 20, 2014

 

Date of Imposition of Judgment

CERTIFIED COPLES TO: Set
DEFENDANT

Gignature of Judge /-
RONDALD C. TRAVIS, ESQ., ATTY. FOR DEFENDANT

JOHN C, GURGANUS, JR, AUSA

AMANDA HAINES, AUSA

PROBATION (2) JENNY LANNAN

U.S. MARSHAL (2)

PRETRIAL (2)

JAMES }. McHUGH, ESQ., ATTY. FOR DEFENDANT Magic? Le, 2efy
f 7

Date

JOEL H. SLOMSKY, USDC JUDGE
Name and Title of Judge

ANNE L. SAUNDERS, ESQ., ATTY. FOR DEFENDANT

JAMES MORENO, ESQ,, ATTY. FOR DEFENDANT
 

 

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Sheet 2 -— Impnsonment

Judgment —- Page .2 oof

DEFENDANT: DAVID PAUL HAMMER
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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: LIFE IMPRISONMENT WITHOUT THE POSSIBILITY OF PAROLE.

The court makes the following recommendations to the Bureau of Prisons:

OThe defendant is remanded to the custody of the United States Marshal.

OThe defendant shail surrender to the United States Marshal for this district:
sat Oam OO pm. on
Ol sas notified by the United States Marshal.

 

[The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C1 before 2 p.m. on

 

C} as notified by the United States Marshal.

C1 = as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN

|

I have executed this judgment as follows:

|

Defendant delivered dn to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL.
By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: DAVID PAUL HAMMER
CASE NUMBER: 4:56CR000239-001
CRIMINAL MONETARY PENALTIES

The defendant must pay (he total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 § $

(] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C} will be entered
after such determination.

CO The defendant must make restitution (including community restitution) to the following payces in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro rtioned payment, unless specified otherwise in
the priority order or percentage payment column below, However, pursuant to 18°U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0 $ 0

C] Restitution amount ordqred pursuant to plea agreement §

Ol The defendant must pay interest on restitution and a fine of more than $2,500, unless (he restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and il is ordered that:
C1 the interest requirement is waived forthe [] fine [1 restitution.
|

|
E) the interest requirement forthe [ fine (4 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters LO9A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
TO

 

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Sheet 6 — Schedule of Payrnents

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DEFENDANT: DAVID PAUL HAMMER
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SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A [Lump sum paymeal of $ due immediately, balance due

0 not later than , or
(CO © in accordance Oc OF D OQ Eo (Cf Fhelow; or

X Payment to begin immediately (may be combined with oc, OD,or (7 F below); or
C 1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(2.g.,:months or years), to commence (e.g., 30 or 60 days) alter the date of this judgment; or
D (Payment in equal (e.g., weekly, monthly, quarterly) installments af $ over a period of
(c.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (© Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F (3 Special instructions regarding the payment of criminal monetary penaltics:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. Al! crimina Imoneta penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposcd.

Of Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

{] The defendant shall pay the cost of prosecution.

Oo

The defendant shail pay the following court cost(s):

[1 The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied inithe following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) tine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
